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 7

 8                     IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                        CASE NO: 1:14-CR-00042-LJO/SKO
11                 Plaintiff,

12   v.                                               STIPULATION AND ORDER FOR A
                                                      RESETTING OF THE CHANGE OF PLEA
13                                                    HEARING

14   EMILIO PEREZ-SOLIS,                              Date:      Monday, January 12, 2015
                                                      Time:      8:30 a.m.
15                 Defendant.                         Courtroom: Honorable Lawrence J. O’Neill
16

17

18          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America,

19   and the defendant EMILIO PEREZ-SOLIS by and through his attorney that the date set for the

20   Change of Plea hearing on Monday, January 12, 2015 at 8:30 a.m. be continued to Monday,

21   January 26, 2015 at 8:30 a.m. The justification for this request is as follows: subsequent to the

22   defendant signing a plea agreement, counsel for the defendant and the government conducted

23   further plea negotiations. The renewed plea negotiations resulted in different agreements by both

24   the government and the defendant. It is expected that the government will provide the defendant

25   with the amended plea agreement by January 9, 2015. Because the defendant is incarcerated in

26   Kern County, it is not possible for counsel to review the new plea agreement and secure the

27   defendant signature prior to the Change of Plea hearing on Monday, January 12, 2015. The

28   parties therefore request that the Change of Plea hearing currently set on January 12, 2015 be

     PEOPLE v. EMILIO PEREZ-SOLIS
     STIPULATION AND [PROPOSED] ORDER FOR A RESETTING OF THE CHANGE OF PLEA HEARING
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 1   continued to January 26, 2015.

 2          The parties also agree that any delay resulting from this continuance shall be excluded in

 3   the interest of justice pursuant to 18 U.S.C. Sections 3161(h)(1)(F), 3161(h)(7)(A),

 4   3161(h)(7)(B)(i) and 3161(h)(7)(B)(iv).

 5                                                         Respectfully submitted,
 6

 7   DATED: January 8, 2015                                 /s/ Salvatore Sciandra
                                                           SALVATORE SCIANDRA
 8                                                         Attorney for Defendant,
                                                           EMILIO PEREZ-SOLIS
 9

10

11   DATED: January 8, 2015                                 /s/ Henry Carbajal, III
                                                           HENRY CARBAJAL, III
12                                                         Assistant United States Attorney

13                                                         Agreed to via email on 1/8/2015.

14

15                                                ORDER

16          For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161, et seq.,

17   within which trial must commence, the time period of the date of this stipulation to January 26,

18   2015, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

19   3161(h)(7)(B(i) and (iv) because it results from a continuance granted by the Court at

20   defendant’s request on the basis of the Court’s finding that the ends of justice served by taking

21   such action outweigh the best interest of the public and the defendant in a speedy trial.

22

23
     IT IS SO ORDERED.
24

25
        Dated:     January 8, 2015                           /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
26

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     PEOPLE v. EMILIO PEREZ-SOLIS
     STIPULATION AND [PROPOSED] ORDER FOR A RESETTING OF THE CHANGE OF PLEA HEARING
     CASE NO.: 1:14-CR-00042-LJO/SKO                                                                2
